              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

               CRIMINAL CASE NO. 1:09-cr-00026-MR-11


UNITED STATES OF AMERICA,       )
                                )
                                )
         vs.                    )                    ORDER
                                )
JUDY NICOLE SPARKS.             )
_______________________________ )

     THIS MATTER is before the Court on the Defendant’s motion for

copies of transcripts and other pleadings [Doc. 479] and the Defendant’s

motion to proceed in forma pauperis [Doc. 480].

     In her motion [Doc. 479], the Defendants requests copies of her plea

agreement [Doc. 165], the Government’s Notice filed June 18, 2009 of its

intent to disclose and use electronic surveillance in court proceedings [Doc.

182]; and the Government’s Motion for Downward Departure [Doc. 300].

The Defendant also requests, at the Government’s expense, copies of the

transcripts of her plea hearing and sentencing hearing; “all her discovery”;

and a copy of her Presentence Report. [Doc. 479].

     The Defendant currently has no motions pending before the Court

and has failed to demonstrate a particularized need for the requested




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transcripts and other documents. See United States v. MacCollom, 426

U.S. 317, 326-27, 96 S.Ct. 2086, 48 L.Ed.2d 666 (1976) (holding that

federal inmates are not entitled to transcripts at Government expense

absent some showing of a particularized need); Jones v. Superintendent,

Va. State Farm, 460 F.2d 150, 152 (4th Cir. 1972) (“[A]n indigent is not

entitled to a transcript at government expense without a showing of the

need, merely to comb the record in the hope of discovering some flaw.”)

(citation omitted); United States v. Velasquez, No. 5:10-CR-00042, 2012

WL 3307264, at 1 (W.D.N.C. Aug. 13, 2012) (Voorhees, J.) (holding that a

copy of presentence report may be obtained from the district court only

upon a showing of particularized need) (citing United States v. Williams,

No. 88-7340, 1989 WL 152422, at *2 (4th Cir. Dec. 11, 1989)).

     The Defendant was sentenced in March 2010 and no direct appeal

was filed.   Further, there are currently no post-conviction proceedings

pending before the Court. Having failed to show any particularized need,

the Defendant is not entitled to receive the requested documents.

     IT IS, THEREFORE, ORDERED that the Defendant’s motion for

copies of transcripts and other pleadings [Doc. 479] is hereby DENIED.




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     IT IS FURTHER ORDERED that the Defendant’s motion to proceed

in forma pauperis [Doc. 480] is DENIED AS MOOT.

     IT IS SO ORDERED.           Signed: February 28, 2013




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